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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                     CENTRAL DIVISION at LEXINGTON

UNITED STATES OF AMERICA,               )
                                        )
      Plaintiff,                        )          Case No.    5:14-cr-84-JMH-2
                                        )
v.                                      )
                                        )
                                        )
CATHERINE GABRIELLE LEAKE,              )          MEMORANDUM OPINION AND ORDER
                                        )
      Defendant.                        )
                                        )

                          *    *        *      *     *

      Defendant Leake moves, pursuant to Federal Rule of Criminal

Procedure 14, to sever her trial from that of her co-defendant

Neal Scott Stone as to Count 1 of the indictment.                       [DE 35].     The

Court conducted a hearing on this motion on October 7, 2014,

during which arguments from both parties were heard.                             Having

considered the motion and applicable law, the Court is prepared

to rule on this matter.               For the following reasons, Leake’s

motion to sever will be denied.

      Leake   was   arrested       on        May    13,   2014,     after    allegedly

participating in a controlled purchase of narcotics with her co-

defendant Stone and a cooperating individual (“CI”).                         Stone was

also arrested, but was released after posting bond.                             Leake’s

bond was set at $30,000.           Stone is alleged to have provided the

CI with money to bond Leake out.                   When the CI attempted to pay

Leake’s bond, however, the money was seized as drug proceeds.
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The circumstances that are alleged to have followed that seizure

form the basis for Count 1 of the indictment.                             The government

contends that Stone was very upset about the money having been

seized and, as part of a plan to make back the money, took

possession of a fake kilogram of cocaine from the CI.                             Stone was

to sell the “cocaine” to recoup his loss and any proceeds in

excess of $30,000 were to be returned to the CI.                              Based on the

alleged       conduct,      Stone       is        charged      with       knowingly       and

intentionally      possessing,       with         the    intent    to   distribute,       500

grams or more of a mixture or substance containing cocaine, in

violation of 21 U.S.C. § 841(a)(1) and 21 U.S.C. § 846.                                    In

Counts 2 through 4, both Stone and Leake are charged with other

drug crimes.

        Leake contends that she was not involved in the conduct

underlying Count 1 of the indictment and that her defense will

be prejudiced if she is tried alongside Stone as he is tried on

Count    1.      Further,    she    argues,         her     defense      will    be   “hotly

antagonistic” against Stone and, thus, both defendants will be

prejudiced by a joint trial.

        Generally,    persons       jointly             indicted     should      be    tried

together.       United States v. Gallo, 763 F.2d 1504, 1525 (6th Cir.

1985).        Joint trials for defendants who are indicted together

promote       efficiency    and     serve         the     interests      of     justice    by

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avoiding inconsistent verdicts.                    United States v. Zafiro, 506

U.S. 534, 537 (1993).             This Court will grant a severance under

Rule 14 “only if there is a serious risk that a joint trial

would     compromise      a      specific         trial    right       of     one   of    the

defendants, or prevent the jury from making a reliable judgment

about guilt or innocence.”                 Id. at 539.         In urging the Court to

sever the trial with respect to Count 1, Leake argues that none

of the evidence with respect to Count 1 would be admissible

against her and, thus, she would be prejudiced by its inclusion

in her trial.         She fails, however, to identify a specific trial

right    that    would    be     compromised        or    any    specific      anticipated

evidence which she believes would be prejudicial.

        Generally, where there is a factual relationship between

the counts at issue, a joint trial is proper.                          See United States

v. Walker, 1 F.3d 423, 428 (6th Cir. 1993) (defendant’s motion

to   sever      was    properly       denied       where       there    was     a   factual

relationship between charged and uncharged counts).                            While Leake

contends that she was not involved in the activity underlying

Count 1, clearly there is a factual relationship between all of

the Counts.           Leake’s alleged involvement in the conduct upon

which Counts 2 through 4 are based is the reason she was in

custody in the first instance.                    Had Leake not been in custody,

there    would    have    been      no      seizure       of    the    bond    money     and,

                                              3
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consequently,         no      plan    to    recoup        the   $30,000.        Additionally,

Leake    has       not     identified         any       specific   prejudice       that     would

result from a joint trial or from the antagonistic defense she

intends to use against Stone.                           A risk of simple prejudice is

insufficient to warrant severing the trials of co-defendants—the

prejudice must be “compelling, specific, and actual.”                                       United

States    v.       Gardiner,       463     F.3d     445,    473    (6th     Cir.     2006);    see

United    States         v.   Breinig,        70    F.3d    850,      853   (6th     Cir.    1995)

(citing Zafiro, 506 U.S. at 535-59) (“A mutually antagonistic

defense       is     not      prejudicial           per    se.”).           “Hostility       among

defendants or the attempt of one defendant to save himself by

inculpating         another       does     not      require     that     the   defendants      be

tried separately.”                United States v. Fields, 763 F.3d 443, 457

(6th Cir. 2014) (citing United States v. Warner, 971 F.2d 1189,

1196 (6th Cir. 1992)).

        Finding that no specific, compelling prejudice exists, the

Court determines that any potential prejudice can be cured by a

limiting instruction.                  See United States v. Driver, 535 F.3d

424,    427    (6th        Cir.      2008).         Jurors      are    presumed      to     follow

limiting instructions, see United States v. McCafferty, 482 F.

App’x 117, 123 (6th Cir. 2012), and Leake has failed to identify

any    reason       that      a   limiting         instruction        would    not    cure     any

potential prejudice in this matter.

                                                    4
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      Accordingly, IT IS ORDERED that Leake’s motion to sever,

[DE 35], is hereby DENIED.

      This the 14th day of October, 2014.




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